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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   DISPLAY TECHNOLOGIES, LLC,

          Plaintiff,
                                                       Case No. No. 1:20-cv-00261-RGA
    v.

   JAGUAR LAND ROVER NORTH
   AMERICA, LLC,

            Defendant.

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff Display Technologies, LLC hereby files this Notice of Voluntary Dismissal With

Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule

41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of court by filing a notice

of dismissal at any time before service by the adverse party of an answer. Accordingly, Display

Technologies, LLC hereby voluntarily dismisses this action against Jaguar Land Rover North

America with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.

Dated: September 29, 2020                     Respectfully submitted,
                                              /s/Jimmy Chong
                                              JIMMY CHONG, ESQ. (#4839)
                                              CHONG LAW FIRM
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                                              chong@chonglawfirm.com

                                              ATTORNEYS FOR PLAINTIFF


SO ORDERED, this ___________ day of ________________, 2020.

                                              ____________________________________
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                                  Judge - United States District Court
